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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 HARDAWAY VOLCY,

             Petitioner,

 v.                                       Case No.8:10-CV-2662-T-24EAJ
                                                  8:08-CR-270–T-24EAJ

 UNITED STATES OF AMERICA,

             Respondent.

                                    /

                                  O R D E R

        This cause comes on for consideration of Petitioner’s

 Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

 Sentence by a Person in Federal Custody (Cv-D-1, Cr-D-413.)

 Because review of “the motion and the files and records of the

 case conclusively show that the [Petitioner] is entitled to no

 relief,” the Court will not cause notice of the motion to be
 served upon the United States Attorney but shall proceed to

 address the matter.          See 28 U.S.C. § 2255.
        By way of background, on February 3, 2009, after a jury

 trial, Petitioner was convicted of conspiracy to distribute

 and possess with the intent to distribute marijuana and

 possession     with    the    intent   to    distribute     marijuana     in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A) and

 (B).     A Presentence Investigation Report was prepared for
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 purposes of sentencing.         Petitioner had a base offense level

 of 28.    (PSI ¶ 39.)      He received a two-level enhancement for

 obstruction of justice for a total offense level of 30.                (Id.

 at ¶ 43-46.)      Petitioner’s criminal history category was I.

 (Id. at ¶ 51.)      Based on his total offense level and criminal

 history category, Petitioner’s guideline imprisonment range

 was 97 to 120 months.        (Id. at ¶ 94.)

       On April 22, 2009, the Court sentenced Petitioner to a
 term of imprisonment of 97 months.           The Judgment was docketed

 on April 23, 2009.        On May 5, 2009, the Court entered an

 Amended Judgment to correct a clerical error on the second
 page of the judgment.1       (Cr-D-333, 343.)       Petitioner appealed.

 On November 5, 2008, the Eleventh Circuit Court of Appeals

 affirmed in part and vacated and remanded in part for the
 Court to correct two clerical errors in the May 5, 2009

 amended     judgment      against      Petitioner.     Specifically,

 Petitioner’s Amended Judgment incorrectly stated as to Count
 One of the Indictment that Petitioner was responsible for more
 than 1,000 kilograms of marijuana rather than 100 kilograms.

 Furthermore, as to Count Three, the Amended Judgment reflected

 that Petitioner was found guilty of violating both 21 U.S.C.
 §§ 846 and 841(b)(1)(B), but Count Three was a substantive

       1
        Page two of the original Judgment referred to “Count Two”
 rather than “Count Three” of the Indictment. (Cr-D-333, p.2.)

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 charge.    The Court issued a Second Amended Judgment on
 September 16, 2010 correcting these scrivener’s errors.

       On November 26, 2010, Petitioner timely filed the instant

 § 2255 motion.       Petitioner claims that the Eleventh Circuit

 erred in remanding the case for correction of the errors in

 the amended judgment.           He argues that there has been a

 constructive amendment of the Indictment and the jury verdict,

 and, as such, Counts One and Three must be dismissed.

 Petitioner further argues that the jury constructively amended

 the Indictment and confused the elements of a conspiracy with

 that of the substantive offense.          Petitioner also argues that

 the jury verdict regarding drug quantities was not reliable as

 drug quantities were referred to at trial in both pounds and

 kilograms.     Finally, Petitioner argues that his counsel was

 ineffective in failing to object to the amended judgment and

 in failing to clarify the difference between references to

 pounds and kilograms.

                  INEFFECTIVE ASSISTANCE OF COUNSEL

       Claims of ineffective assistance of counsel require a
 showing of the two-prong test as set forth by the Supreme

 Court in Strickland v. Washington, 466 U.S. 668 (1984).                  In

 order to succeed under the Strickland test, a movant has the
 burden of proving: (1) deficient performance by counsel; and

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 (2) prejudice resulting therefrom.             Id. at 687.
       The first prong of the Strickland test requires the Court

 to   determine     whether    trial       counsel    performed      below   an

 “objective      standard     of   reasonableness,”         while      viewing

 counsel’s challenged conduct on the facts of the particular

 case at the time of counsel’s conduct. 466 U.S. at 688, 690.

 Notably, there is a strong presumption that counsel rendered

 adequate assistance and made all significant decisions with

 reasonable and competent judgment.             Id.

       A counsel’s performance is deficient if, given all the

 circumstances,      his   performance      falls     outside   of   accepted

 professional conduct. Strickland, 466 U.S. at 690. “Judicial

 scrutiny of counsel’s performance must be highly deferential,”

 and “counsel cannot be adjudged incompetent for performing in

 a particular way in a case, as long as the approach taken

 “might be considered sound trial strategy.”                    Chandler v.

 United States, 218 F.3d 1305, 1313-14 (11th Cir.2000) (en

 banc) (quoting Strickland, 466 U.S. at 689 and Darden v.

 Wainwright, 477 U.S. 168 (1986)).                   Rather, for counsel’s

 conduct to be unreasonable, a petitioner must show that “no

 competent counsel would have taken the action that his counsel

 did take.”     Chandler, 218 F.3d at 1315.

       The Supreme Court has consistently held that “as a matter

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 of law, counsel’s conduct ... cannot establish the prejudice

 required    for    relief    under   the    second    [prong]    [o]f   the

 Strickland inquiry.”         Nix v. Whiteside, 475 U.S. 157, 175

 (1986).    This admonition emphasizes the stringent requirement

 that if a petitioner does not satisfy both prongs of the

 Strickland test, “he will not succeed on an ineffective

 assistance claim.”       Zamora v. Dugger, 834 F.2d 956, 958 (11th

 Cir. 1987).     See also Weeks v. Jones, 26 F.3d 1030, 1037 (11th

 Cir. 1994).        Therefore, a court may resolve a claim of

 ineffective assistance of counsel based solely on lack of

 prejudice     without    considering     the   reasonableness      of   the

 attorney’s performance.        Waters v. Thomas, 46 F.3d 1506, 1510

 (11th Cir. 1995) (citing Strickland, 466 U.S. at 697).

                                 DISCUSSION

 1.    Correction of the Amended Judgment

       Petitioner claims that the Indictment and jury verdict

 were constructively amended by the Court in issuing the May 5,

 2009 Amended Judgment and that the correction of the Amended

 Judgment mandated by the Eleventh Circuit was impermissible.

 Petitioner further claims that his counsel was ineffective in

 failing to argue the constructive amendments.

       Petitioner’s contentions are meritless.             The Indictment


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 charged Petitioner with conspiracy to distribute and possess

 with the intent to distribute marijuana in violation of 21

 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A) (Count One) and

 possession        with   the    intent       to    distribute      marijuana     in

 violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B) and 18

 U.S.C. § 2 (Count Three). (Cr-D-1.) The Court’s instructions

 to the jury specified that Count One charged a conspiracy and

 that Count Three charged a substantive offense, specifically,

 that    Petitioner       possessed     with       the   intent    to   distribute

 marijuana. (Cr-D-286, p. 13.) Additionally, jury instruction

 O-85 explained that Count Three of the Indictment charged

 possessing with intent to distribute marijuana as well as the

 elements of the charge that needed to be proved beyond a

 reasonable doubt.         (Id. at p. 17-18.)

        The   jury   verdict     form     reflects       that     the   jury   found

 Petitioner guilty as to “Count One of the Indictment which

 charges conspiracy to distribute and possess with the intent

 to distribute marijuana in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(A)....” (Cr-D-291, p.1) The jury also specifically

 found that the offense charged in Count One involved “[a]

 mixture      or    substance     containing         marijuana      weighing     100

 kilograms or more.”            (Id.)     The verdict form also reflects



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 that Count Three charged “possession with the intent to

 distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1)

 and (b)(1)(B).”          (Id. at p. 2.)       The jury found Petitioner

 guilty of that offense and found the offense charged involved

 marijuana weighing 100 kilograms or more.              (Id.)

       There was no constructive amendment of the Indictment or

 the jury’s verdict.            The Court’s instructions to the jury

 correctly identified the charges in the Indictment and the

 elements    of       those   charges.       Additionally,   the   jury   was

 provided with a copy of the Indictment for its use during

 deliberations. The jury found Petitioner guilty of Counts One

 and Three as charged in the Indictment.

       Rule 36 gives the Court authority to correct clerical

 errors    in     a    criminal    judgment.      Fed.R.Crim.P.    36.      A

 correction to the offense of conviction in a criminal judgment

 is clerical in nature.           United States v. Diaz, 190 F.3d 1247,

 1253 (11th Cir. 1999) (“the judgment reflects the incorrect

 offense, ... which we regard simply as a clerical error”);

 accord Bowie-Myers v. United States, No. 8:03-CR-437-T-17MAP,

 2006 WL 2092286, at *3 (M.D. Fla. July 26, 2006) (“The

 deletion of the words “conspiracy to” in the amended judgment

 was a simple clerical change correcting a scrivener’s error.”)



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       The corrections made by the Court in the Second Amended

 Judgment, as directed by the Eleventh Circuit, did not affect

 Petitioner’s substantial rights and did not fundamentally

 alter his sentence.          The corrections were made simply to

 conform    with   the   charges    in      the   Indictment,      the    jury’s

 verdict, and the Court’s oral pronouncement of sentence.                       As

 such, Petitioner is not entitled to relief as to these claims.

       Similarly, Petitioner’s claim of ineffective assistance

 of counsel relating to the amended judgment also fails.

 Petitioner has failed to show any prejudice resulting from

 Petitioner’s attorney’s failure to object to the errors in the

 amended judgment. Again, the errors were of a clerical nature

 and the corrections made in the Second Amended Judgment do not

 affect Petitioner’s substantial rights or his sentence.

 II. Jury Confusion - Conspiracy and Substantive Offense.

       Petitioner     also   claims    that       the   jury    constructively

 amended    the    Indictment    and       confused     the    elements    of   a

 conspiracy with that of the substantive offense.                   Petitioner

 presents no evidence supporting this claim.

       As indicated above, the jury was provided with a copy of

 the Indictment which charged a conspiracy as to Count One and

 a substantive charge as to Count Three.                      Furthermore, the


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 Court correctly charged the jury regarding the elements of

 each    offense.        “A    jury     is   presumed     to   follow    its

 instructions.”      United States v. De La Cruz Suarez, 601 F.3d

 1202, 1218 (11th Cir.), cert. denied, 131 S.Ct. 393 (2010).

 Petitioner has submitted no evidence demonstrating that the

 jury failed to follow the Court’s instructions to the jury.

 Furthermore, the evidence was more than sufficient for the

 jury to find Petitioner guilty beyond a reasonable doubt of

 both the conspiracy and substantive possession counts.                    As

 such, Petitioner is not entitled to relief as to this claim.

 III. Jury Verdict - Kilograms versus Pounds

        Petitioner next claims that the jury verdict was not

 reliable as to the drug quantities because marijuana was

 referenced in the Indictment and at trial in both pounds and

 kilograms.     (Cv-D-1, p.4.)        Petitioner argues that “it is not

 clear if the jury made a finding of drug quantity based upon

 pounds or kilograms.”           (Id. at p.3.)          He further claims

 ineffective assistance resulting from his attorney’s failure

 to clarify to the jury the difference between references to

 pounds and kilograms.         Petitioner claims that “the jury did

 not have specific instructions to explain the differences and

 it cannot be certain whether the jury made findings of drug


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 quantity based upon pounds or kilograms.”               (Cv-D-1, p.4.)

       Contrary to Petitioner’s contention, the Indictment only

 refers to marijuana in kilograms, which is the statutory

 measure of drug quantity. (Cr-D-1.) The Court’s instructions

 to the jury and verdict form similarly only refer to marijuana

 in kilograms.        (Cr-D-286, 291.)        At trial, the Government

 presented evidence that the semi-tractor trailer Petitioner

 and his co-defendant were driving was carrying 1,561 pounds of

 marijuana.      The Government presented evidence regarding the

 equivalency of kilograms to pounds.                 Specifically, Agent

 Duralia     correctly      testified       that   one   kilogram     equals

 approximately 2.2 pounds and that 1,000 kilograms equals

 approximately 2,200 pounds.            (Cr-D-379, p. 7-16.)          During

 closing argument, the prosecutor explained that 220 pounds is

 the equivalent of 100 kilograms.              He continued that as the

 tractor trailer was carrying 1,561 pounds of marijuana, the

 jury could find that the offenses involved 100 kilograms or

 more.     (Cr-D-385, p. 159-60.)          The jury convicted Petitioner

 of more than 100 kilograms and substantial evidence beyond a

 reasonable doubt supports its verdict.

       Furthermore, Petitioner has not demonstrated prejudice as

 a result of his attorney’s failure to clarify regarding the



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 pounds and kilograms.        As indicated, the Government presented

 accurate evidence relating to the conversion from pounds to

 kilograms and substantial evidence supports the jury’s verdict

 as to the quantity of marijuana involved. Thus, Petitioner is

 not entitled to the relief he seeks.

                            EVIDENTIARY HEARING

       As to Petitioner’s request for an evidentiary hearing,

 Petitioner has failed to demonstrate the need for such a

 hearing.     The Court need not conduct an evidentiary hearing

 where it is evident from the record that the petitioner was

 not denied effective assistance of counsel.               Diaz v. United

 States, 930 F.2d 832, 834 (11th Cir. 1991).                  Based on the

 foregoing      analysis,     the   Court    does    not   find    that    an

 evidentiary hearing is warranted.

       IT IS ORDERED that:

       (1)    Petitioner’s Motion under 28 U.S.C. 2255 to Vacate,

 Set Aside, or Correct Sentence by a Person in Federal Custody

 (Cv-D-1, Cr-D-413) is DENIED.

       2)    The Clerk is directed to enter judgment in favor of

 the Government and CLOSE the civil case.




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                   CERTIFICATE OF APPEALABILITY AND

              LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

       IT IS FURTHERED ORDERED that Petitioner is not entitled

 to a certificate of appealability.                     A prisoner seeking a

 motion to vacate has no absolute entitlement to appeal a

 district     court’s    denial    of      his   petition.          28    U.S.C.   §

 2253(c)(1).       Rather, a district court must first issue a

 certificate of appealability (COA).               Id.    “A [COA] may issue

 … only if the applicant has made a substantial showing of the

 denial of a constitutional right.”               Id. at § 2253(c)(2).             To

 make such a showing, a petitioner “must demonstrate that

 reasonable jurists would find the district court’s assessment

 of the constitutional claims debatable or wrong,”                       Tennard v.

 Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel

 529 U.S. 473, 484 (2000)), or that “the issues presented were

 ‘adequate to deserve encouragement to proceed further,’”

 Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting

 Barefoot     v.   Estelle,    463      U.S.     880,    893   n.    4    (1983)).

 Petitioner     has   not   made     the     requisite     showing        in   these

 circumstances. Finally, because Petitioner is not entitled to

 a certificate of appealability, he is not entitled to appeal




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 in forma pauperis.

       DONE AND ORDERED at Tampa, Florida this              30th      day of

 December, 2010.




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